Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 1 of 10


                                                              ELECTRONICALLY FILED
                                                               2020 Sep 09 AM 9:26
                                                CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                          CASE NUMBER: 2020-CV-000446




  Court:                     Wyandotte County District Court

 Case Number:                2020-CV-000446

 Case Title:                 KDG LLC vs. Owners Insurance Company

 Type:                       Clerk's Extension of Time



                                                        SO ORDERED.




                                                        Isl Clerk of District Court


 Electronically signed on 2020-09-09 09:26:28   page 1 of 3




                                                                                      EXHIBIT
   Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 2 of 10




              IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS,
                  29rn JUDICIAL DISTRICT, CIVIL COURT DEPARTMENT


KDGLLC,
          Plaintiff,
vs.                                                       Case No.: 2020-CV-000446
OWNERS INSURANCE COMPANY,


          Defendant.
                                    CLERK'S EXTENSION OF TIME
          Defendant Owners Insurance Company, by and through its attorney, requests a clerk's

extension pursuant to Kan. Sup. Ct. R. 113. In support, Owners Insurance Company was served

with a Summons and the Petition in the above-captioned matter on August 19, 2020. As a result,

Owners Insurance Company's Answer to the Petition is due twenty-one days after service, or on

September 9, 2020.            Pursuant to Kansas Sup. Ct. R. 113, Owners Insurance Company is

granted an additional fourteen (14) days up to and including September 23, 2020 to plead or

otherwise respond to the Petition in the above-captioned action.



                                                                 Clerk of the District Court

Prepared and submitted by:
Shaffer Lombardo Shurin
By: Isl Richard F. Lombardo
  Richard F. Lombardo
  2001 Wyandotte Street
  Kansas City, MO 64108-1925
  Tele: (816) 931-0500
  rlombardo@sls-law.com
  Attorney for Defendant Owners Insurance Company




{2567/0739: 00441817.DOCX.}
   Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 3 of 10




                               CERTIFICATE OF SERVICE


              The undersigned hereby certifies that a true and correct copy of the above and
foregoing was served by email on September 8, 2020 to:


Christopher K. Snow
Michael Grier
Warden Grier, LLP
3515W. 75th st. Suite 102
Prairie Village, KS 66208
csnow@wardengrier.com
mgrier@wardengrier.com
ATTORNEYS FOR PLAINTIFF

                                            Isl Richard F. Lombardo
                                            Attorney for Defendant




{2567 /0739: 00441817.DOCX.}
     Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 4 of 10


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                                                         2020 Sep 23 AM 11 :37
                                           CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                     CASE NUMBER: 2020-CV-000446

               IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

KDG,LLC,                                         )
                                                 )
                              Plaintiff,         )
                                                 )
v.                                               ) Case No. 2020-cv-000446
                                                 )
OWNERS INSURANCE COMPANY,                        )

                              Defendant.

                         DEFENDANT OWNERS INSURANCE COMPANY'S
                            ANSWER AND AFFIRMATIVE DEFENSES

         Defendant Owners Insurance Company sets forth the following answer and affirmative

defenses to plaintiffKDG, LLC's Petition:


          1.       Defendant lacks knowledge and information to form a belief regarding the truth or

falsity of the allegations set forth in Paragraph I and therefore denies the same.

         2.        Defendant admits that it is qualified to do business in Kansas and is in good

standing but denies the remaining allegations set forth in Paragraph 2 and therefore denies the

same.

         3.        Defendant admits the allegations set forth in Paragraph 3.

         4.        Paragraph 4 is a legal conclusion and therefore no response is required. To the

extent such a response is required, Defendant denies the allegations contained in Paragraph 4 of

the Petition.

         5.        Defendant lacks knowledge and information to form a belief regarding the truth or

falsity of the allegations set forth in Paragraph 5 and therefore denies the same.

         6.        Defendant admits the allegations set forth in Paragraph 6.

         7.        Defendant denies the allegations contained in Paragraph 7.

         8.         Defendant denies the allegations contained in Paragraph 8.

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  Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 5 of 10




          9.        Defendant denies the allegations contained in Paragraph 9.


       COUNT I BREACH OF CONTRACT AS AGAINST DEFENDANT OWNERS

          I 0.      Defendant hereby incorporates by reference its answers above as if fully set forth

herein.

          11.       Defendant denies the allegations contained in Paragraph 11.

          12.       Defendant denies the allegations contained in Paragraph 12.

          13.       Defendant denies the allegations contained in Paragraph 13.

          14.       Defendant admits the allegations contained in Paragraph 14.

          15.       Defendant denies the allegations contained in Paragraph 15.

          16.       Defendant denies the allegations contained in Paragraph 16.

          17.       Defendant denies the allegations contained in Paragraph 17.


                                      AFFIRMATIVE DEFENSES


          18.       Defendant denies each and every allegation not explicitly admitted above.

          19.       Plaintiff fails to state a claim upon which relief may be granted because the

alleged property damage was caused by events that occurred outside the policy period.

          20.       Plaintiff fails to state a claim upon which relief may be granted in that Defendant

complied with the terms and obligations of the policy of insurance issued to Plaintiff.

          21.       If Plaintiff sustained any injury or damage as alleged, which Defendant denies,

said injury or damage was caused or contributed to be caused by the actions and/or inactions of

others whom Defendant does not and cannot exercise control over.




{2567 /0739: 00443174.DOCX.}                         2
  Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 6 of 10




          22.      If Plaintiff sustained damage as alleged, which Defendant denies, the sole and

proximate cause of Plaintiffs damages, if any, were the intervening acts or omissions of persons

or entities other than Defendant and over whom Defendant had control.

         23.       If Plaintiff sustained damage as alleged, which Defendant denies, the damages

resulted from the defective or improper installation of the EPDM and/or defective or improper

manufacturing of the EPDM.

         24.       Defendant reserves the right to assert additional affirmative defenses as they

become known through the discovery process.


         WHEREFORE, defendant Owners Insurance Company respectfully request for this Court

to enter judgment in its favor and against Plaintiff, for costs associated in defending this case,

and for such other and further relief this Court deems just and proper.

                                                      Respectfully Submitted,


                                                      SHAFFER LOMBARDO SHURIN, PC


                                                      Isl Michael F. Barzee
                                                      Richard F. Lombardo         KS#22326
                                                      Michael F. Barzee           KS#27217
                                                      2001 Wyandotte Street
                                                      Kansas City, Missouri 64108
                                                      816-931-0500
                                                      816-931-5775 (fax)
                                                      rlombardo@sls-law.com
                                                      mbarzee@sls-law.com
                                                      ATTORNEYS FOR DEFENDANT
                                                      OWNERS INSURANCE COMPANY




{2567/0739: 00443174.DOCX.}                       3
  Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 7 of 10




                               CERTIFICATE OF SERVICE

       NOW ON THIS 23 rd day of September 2020, the undersigned certifies the above
pleading was filed using this Court's ECF filing system with a notification containing a copy of
the above pleading to all parties of record.

                                                   Isl Michael F Barzee




{2567/0739: 00443174.DOCX.}                    4
     Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 8 of 10


                                                       ELECTRONICALLY FILED
                                                              2020 Oct 01 PM 1243
                                               CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2020-CV-000446




              IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

KDG,LLC                                            )
                                                   )
                              Plaintiff,           )
                                                   )
V.                                                 ) Case No. 2020-cv-000446
                                                   )
OWNERS INSURANCE COMPANY                           )
                                                   )
                              Defendant.           )

                                           CERTIFICATE OF SERVICE

          COMES NOW defendant Owners Insurance Company by and through undersigned

counsel, and hereby certifies that the following discovery, along with a copy of this Certificate of

Service, was sent to plaintiff in Word and PDF format this 1 st day of October, 2020 to:

Christopher K. Snow, Michael Grier, Warden Grier, LLP, 3515 W. 75 th St. Suite 102, Prairie

Village, KS 66208 csnow@wardengrier.com mgrier@wardengrier.com

              • Defendant Owners Insurance Company's First Set of Interrogatories to
                Plaintiff
              • Defendant Owners First Requests for Admission

                                                         Respectfully Submitted,


                                                         SHAFFER LOMBARDO SHURIN, PC


                                                         Isl Michael F. Barzee
                                                         Richard F. Lombardo         KS #22326
                                                         Michael F. Barzee           KS #27217
                                                         2001 Wyandotte Street
                                                         Kansas City, Missouri 64108
                                                         816-931-0500 816-931-5775 (fax)
                                                         rlombardo@sls-law.com
                                                         mbarzee!alsls-law.com
                                                         ATTORNEYS FOR DEFENDANT
                                                         OWNERS INSURANCE COMPANY
{2567/0739: 00443734.DOCX.}
     Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 9 of 10


                                                   ELECTRONICALLY FILED
                                                    2020 Oct 29 PM 1 :02
                                     CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                               CASE NUMBER: 2020-CV-000446

            IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

KDG,LLC                                    )
                                           )
                     Plaintiff,            )
                                           )
v.                                         ) Case No. 2020-cv-000446
                                           )
OWNERS INSURANCE COMPANY                   )
                                           )
                     Defendant.            )

                                  NOTICE OF SERVICE

         COMES NOW Plaintiff KDG, LLC by and through undersigned counsel, and hereby

certifies that PlaintiffKDG, LLC's Response to Defendant's Request for Admission and Plaintiff

KDG, LLC's Responses to Defendant's First Set of Interrogatories were served on October 28,

2020 via U.S. mail, postage prepaid, to: Richard Lombardo, Esq. and Michael Barzee,Esq., 2001

Wyandotte Street, Kansas City, MO 64108.




Dated: October 29, 2020                    Respectfully submitted,



                                           Isl Christopher K. Snow
                                           J. Michael Grier             KS #12047
                                           Christopher K. Snow          KS #16749
                                           WARDEN GRIER, LLP
                                           3515 W. 75 th St., Suite 102
                                           Prairie Village, KS 66208
                                           Telephone: (816) 877-8104
                                           Facsimile: (816) 877-8179
                                           mgrier@wardengrier.com
                                           csnow@wardengrier.com
                                           ATTORNEYS FOR PLAINTIFF KDG LLC

                                               1
 Case 2:20-cv-02569-KHV-GEB Document 1-4 Filed 11/11/20 Page 10 of 10




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on October 29, 2020, the foregoing was electronically filed
with the Court via the Court's ECF filing system, which will send notice to all counsel of record,
including the following:
 Richard F. Lombardo, Esq.
 Michael F. Barzee, Esq.
 SHAFER LOMBARDO SHURIN, P.C.
 2001 Wyandotte Street
 Kansas City, MO 64108
 T: 816.931.0500
 F: 816.931.5775
 rlombardo@sls-law.com
 mbarzee@sls-law.com
 ATTORNEY FOR DEFENDANT



                                             Isl Christopher K Snow
                                             Christopher K. Snow




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